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14                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
15
                                   SAN FRANCISCO DIVISION
16
      In re: CATHODE RAY TUBE (CRT)                     Master File No. 3:07-md-05944-SC
17    ANTITRUST LITIGATION                              (N.D. Cal.)
18                                                      MDL No. 1917
19     This Document Relates to:
                                                        DIRECT ACTION PLAINTIFFS’
20    Best Buy Co., Inc. v. Hitachi, Ltd.,              RESPONSE IN OPPOSITION TO
      No. 11-cv-05513;                                  DEFENDANTS’ MOTION TO
21                                                      EXCLUDE CERTAIN TESTIMONY
      Best Buy Co., Inc. v. Technicolor SA,             OF PROFESSOR KENNETH
22    No. 13-cv-05264;                                  ELZINGA
23    CompuCom Sys., Inc. v. Hitachi, Ltd.,
                                                        Date: February 20, 2015
       No. 11-cv-06396;                                 Time: 10:00 a.m.
24
                                                        Courtroom: 1
25    Costco Wholesale Corp. v. Hitachi, Ltd.,          Judge: Honorable Samuel Conti
       No. 11-cv-06397;
26                                                      REDACTED VERSION
      Dell Inc. and Dell Products L.P., v. Hitachi,
27    Ltd., No. 13-cv-02171;
28
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 2

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 4
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 5   No. 11-cv-06275;

 6   Interbond Corp. of Am. v. Technicolor SA,
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 1                       I.     STATEMENT OF ISSUE TO BE DECIDED
 2
            Whether Professor Kenneth Elzinga should be precluded from testifying about the
 3
     factual bases and the materials he reasonably relied upon to form his expert economic
 4
     opinions, despite the clear language of Federal Rule of Evidence 702(b) and (c) which
 5
     requires that his expert testimony be “based on sufficient facts or data.”
 6
                                       II.     INTRODUCTION
 7

 8          Professor Elzinga is the Robert C. Taylor Professor of Economics at the University of

 9   Virginia. Defendants do not challenge Professor Elzinga’s qualifications, nor do they

10   challenge a single one of his opinions, much less his methodology or the actual facts and

11   data upon which his opinions are based. Instead, Defendants seek to prelude Professor

12   Elzinga from explaining to the jury the factual bases of his economic opinions, arguing that it

13   constitutes an improper narrative and that it would usurp the role of the jury. The Defendants’

14   Motion is misguided because it fundamentally misapprehends the basic precepts of the

15   Federal Rules of Evidence as they apply to expert testimony.

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20                                                                                As courts routinely

21   hold, an expert’s testimony about the factual bases for his expert opinion is the very analysis

22   that is required by Federal Rule of Evidence 702. See, e.g., U.S. Info. Sys., Inc. v. Int’l. Bhd.

23   of Elec. Workers Local Union No. 3, AFL-CIO, 313 F. Supp. 2d 213, 240 (S.D.N.Y. 2004)

24   (“Economists often explain whether conduct is indicative of collusion.”)              Moreover,

25   Defendants (including Toshiba, the author of this motion) made these same arguments to

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                                                     1
     DAPS’ OPP. TO DEFENDANTS’ MOTION TO EXCLUDE                   MASTER FILE NO. 3:07-CV-05944-SC
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                                                                                                      1
 1   exclude Plaintiffs’ experts in the TFT-LCD litigation, which Judge Illston correctly rejected.
 2          Defendants’ argument is so weak that the very cases cited in their brief undermines it–
 3   “an expert must of course rely on facts or data in formulating an expert opinion.” See
 4   Highland Capital Mgmt. L.P. v. Scheider, 379 F. Supp. 2d 461, 469 (S.D.N.Y. 2005)
 5   (citations omitted). And Defendants admit as much when they affirmatively concede that
 6   they “do not dispute that Professor Elzinga may rely upon the documentary record—and even
 7   a limited chronology of events—as may be relevant to the application of economic theory to
 8   the facts of this case.” See Def. Mot. at 8. Defendants’ real gripe is that Professor Elzinga
 9   relies on too much evidence and provides too much detail in support of his opinions based on
10   the massive paper trail of incriminating evidence in the Defendants’ own documents.
11          Defendants’ efforts to taint Professor Elzinga’s opinion as usurping the jury’s role
12   fares no better.   Professor Elzinga’s careful application of economic principles to the
13   conditions in the CRT industry and the CRT suppliers’ behavior would be helpful to the jury
14   as they seek to understand the complex structural and behavioral elements of cartel theory.
                                                                                  2
15   The Court should not limit Professor Elzinga’s testimony on these matters.
16                                      III.   BACKGROUND
17
         A. Professor Elzinga’s Economic Analysis, Opinions and Proposed Testimony
18
            Professor Elzinga is the Robert C. Taylor Professor of Economics at the University of
19
     Virginia. He has devoted his nearly 50-year career to teaching and research in the field of
20   1
       See Ex. 1 to Declaration of Debra Bernstein (all exhibits referenced herein are attached to
21     the Bernstein Declaration), In re: TFT-LCD (Flat Panel) Antitrust Litigation, Final Pretrial
       Scheduling Order in all DPP Actions, 07-md-1827-SI, MDL Dkt. No. 5597 (May 4, 2012)
22
       at 6 (denying LG/Toshiba Motion in Limine No. 1, Dkt. No. 5175 (Ex. 2), to exclude expert
23     testimony without prejudice pending specific objections to specific questions at trial, despite
       argument that Plaintiffs’ experts would offer opinions about the intent, motive or state of
24     mind of defendants, as well as personal interpretations of documents and deposition
       testimony).
25   2
       The proposed testimony of Professor Elzinga should not be considered in a vacuum; any
26     decision to exclude certain facts should be reviewed within the context of the evidence
       adduced at trial. See, e.g., United States v. AU Optronics Corp., No. CR 09-110-SI, 2011
27     U.S. Dist. LEXIS 148035, at *3-4 (N.D. Cal. Dec. 22, 2011) (“The general Daubert/FRE
       702 motions to exclude are denied, without prejudice to specific objections at the time of
28     trial”).
                                                    2
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 1   antitrust economics and has been admitted as an economic expert in numerous antitrust cases,
 2   including on behalf of the Antitrust Division of the Department of Justice, Federal Trade
 3   Commission, and even as a special consultant to Judge Lewis A. Kaplan in the United States
 4   District Court for the Southern District of New York. See e.g., In re: Auction Houses
 5   Antitrust Litigation (Sotheby’s and Christie’s) (S.D.N.Y. 2001); In re: Urethane Antitrust
 6   Litig., No. 04-d-1616 (D. Kan. 2014).
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                                  Defendants are not challenging any of these opinions.
20
                       IV.     ARGUMENT AND CITATION OF AUTHORITIES
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              A witness qualified as an expert is permitted to testify if his or her testimony “will
22
     assist the trier of fact to understand the evidence or to determine a fact in issue.” Fed. R. Evid.
23
     702. To be admissible, expert testimony must be both relevant and reliable. Daubert v.
24
     Merrell Dow Pharm., Inc., 509 U.S. 579, 589 (1993).            In Daubert, the Supreme Court
25
     3
26       DAPs have retained other economists (Dr. Mohan Rao for Dell, and Dr. McClave for the
         majority of the DAPs) who have developed econometric models that accurately and reliably
27       estimate the degree of overcharges resulting from Defendants’ conspiracy to fix worldwide
         CRT prices. Notably, Defendants have not moved to exclude the testimony of any of these
28       experts.
                                                     3
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 1   specifically cautioned against the “wholesale exclusion” of expert testimony, and reiterated
 2   that the ultimate assessment of the weight to be accorded to an expert’s opinion should be
 3   made by the jury at trial after “[the] presentation of contrary evidence . . . [v]igorous cross-
 4   examination . . . and careful instruction on the burden of proof.” Daubert, 509 U.S. at 596.
 5   The rejection of expert testimony under Rule 702 is “the exception rather than the rule.” Fed.
 6   R. Evid. 702, Advisory Committee notes to the 2000 amendments.
 7           Reliability is assessed by looking at whether “the reasoning or methodology
 8   underlying the testimony is scientifically valid” and whether it “can properly be applied to the
 9   facts at issue.” DSU Med. Corp. v. JMS Co., 296 F. Supp. 2d 1140, 1146 (N.D. Cal. 2003)
10   (quoting Daubert, 509 U.S. at 592-93). In assessing the reliability of Professor Elzinga’s
11   opinions, the Court need not be convinced that Professor Elzinga’s opinions are correct or
12   even persuasive, only that they are sufficiently reliable to assist the jury. In re Static Random
13   Access Memory (SRAM) Antitrust Litig., No. 07-md-01819, 2010 WL 5071694, at *4 (N.D.
14   Cal. Dec. 7, 2010); see also In re Scrap Metal Antitrust Litig., 527 F.3d 517, 529-530, 531
15   (6th Cir. 2008) (“The task for the district court in deciding whether an expert’s opinion is
16   reliable [under Daubert] is not to determine whether it is correct, but rather to determine
17   whether it rests upon a reliable foundation, as opposed to, say, unsupported speculation.”)).
18           As the Supreme Court explained in Daubert, the district court must focus on the
19   principles and methodology employed by the expert, without regard to the conclusions the
20   expert has reached. 509 U.S. at 595; see also Daubert v. Merrell Down Pharm., Inc. (Daubert
21   II), 43 F.3d 1311, 1318 (9th Cir. 1995) (on remand) (“[T]he test under Daubert is not the
22   correctness of the expert’s conclusions but the soundness of his methodology.”); United States
23   v. Sandoval-Mendoza, 472 F.3d 645, 654 (9th Cir. 2006) (holding that expert opinion “is
24   reliable if the knowledge underlying it ‘has a reliable basis in the knowledge and experience
25   of [the relevant] discipline’”).
26           Defendants are not challenging the methodology or reliability of any of Professor
27   Elzinga’s opinions.
28
                                                    4
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 1        A. Professor Elzinga Is Entitled To Testify About the Factual Bases for His
             Opinions
 2

 3            Defendants also do not challenge Professor Elzinga’s expert qualifications, nor do

 4   they challenge his ability to “rely upon the documentary record.” Def. Mot. at 8. Instead,
                                                                                    4
 5   Defendants complain that Section VII of Professor Elzinga’s Expert Report (which sets forth

 6   the underlying factual basis for his expert economic analyses) is too detailed and provides too

 7   much evidence, supposedly making it a “narrative.”           Under the ruse of this pejorative

 8   labeling, and in contravention of Rule 702(b), Defendants seek to prohibit Professor Elzinga

 9   from testifying about the very foundation and predicate for his expert economic opinions:

10

11                                                                   See Fed. R. Evid. 702 (explaining

12   that an expert witness must apply “the principles and methods reliably to the facts of the

13   case” (emphasis added)); see also Mid-State Fertilizer Co. v. Exch. Nat’l Bank of Chicago,

14   877 F.2d 1333, 1339 (reasoning that “[a]n opinion has a significance proportioned to the

15   sources that sustain it. An expert who supplies nothing but a bottom line supplies nothing of

16   value to the judicial process”) (internal citations omitted).

17

18

19                    1. Professor Elzinga’s Review and Analysis of the CRT Suppliers’ Conduct
                         and the CRT Industry’s Conditions Falls Squarely Within Permitted Expert
20                       Economic Testimony
21            Professor Elzinga did exactly what an economic expert is supposed to do—he
22   reviewed factual evidence of the CRT suppliers’ conduct and the structure of the industry and
23   applied well established economic principles to reach each of his conclusions. Professor
24   Elzinga’s approach is consistent with both the case law (which routinely allows testimony of
25   the nature and quality offered by Professor Elzinga) and economic literature and textbooks.
26   4
         Defendants claim that Professor Elzinga’s rebuttal report also contains a “narrative” because
27       it provides a detailed discussion of the factual bases of his rebuttal report. Defendants’
         complaint on the rebuttal report is the same and should be rejected for the reasons
28       enumerated herein.
                                                      5
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 1            The case law is clear: expert economists in antitrust cases are routinely permitted to
 2   review behavior and testify about what facts are consistent—or inconsistent—with cartel
 3   behavior, including whether: the alleged conduct harms competition, the conditions in a
 4   specific market are conducive to conspiratorial activity, and underlying behavior was
 5   consistent with collusive activity. See, e.g., Am. Ad Mgmt., Inc. v. GTE Corp., 92 F.3d 781,
 6   790-91 (9th Cir. 1996) (conduct “has major anti-competitive consequences”); Re/Max lnt’l
 7   Inc. v. Realty One, Inc., 173 F.3d 995, 1010 (6th Cir. 1999) (allowing expert to opine on
 8   whether action was consistent with conspiracy theory after evaluation of market conditions
 9   and market behavior); U.S. Info. Sys., Inc. v. Int’l. Bhd. of Elec. Workers Local Union No. 3,
10   AFL-CIO, 313 F. Supp. 2d 213, 240 (S.D.N.Y. 2004) (noting that “[e]conomists often explain
11   whether conduct is indicative of collusion”); Ohio v. Louis Trauth Dairy, Inc., 925 F. Supp.
12   1247, 1253-54 (S.D. Ohio 1996) (permitting expert testimony regarding factors that facilitate
13   collusion); In re Polypropylene Carpet Antitrust Litig., 93 F. Supp. 2d. 1348, 1355 (N.D. Ga.
14   2000) (finding that “climate of the polypropylene market . . . was consistent with a finding
15   that Defendants engaged in a conspiracy to fix prices”); In re High Fructose Corn Syrup
16   Antitrust Litig., 295 F.3d 651, 660-61 (7th Cir. 2002); In re Sulfuric Acid Antitrust Litig., 235
17   F.R.D. 646, 659-60 (N.D. Ill. 2006).5
18            Notably, certain Defendants (including Toshiba, the author of the instant Motion)
19   made identical arguments in an effort to exclude the factual bases of Plaintiffs’ economic
20   experts in the TFT-LCD litigation. Judge Illston denied their motions and ultimately rejected
21   Defendants’ objections at trial. See Ex. 1, In re: TFT-LCD (Flat Panel) Antitrust Litig., Final
22   Pretrial Scheduling Order in all DPP Actions, Dkt. No. 5597 (May 4, 2012) at 6 (denying
23   LG/Toshiba Motion in Limine No. 1, Dkt. No. 5175 (attached hereto as Ex. 2), to exclude
24   expert testimony without prejudice pending specific objections to specific questions at trial,
25
     5
26       Similarly, economists commonly evaluate how rational economic actors make choices. See
         Ex. 11 (II Areeda & Hovenkamp, Antitrust Law) ¶ 309; Brooke Grp., Ltd. v. Brown &
27       Williamson Tobacco Corp., 509 U.S. 209 (1992) (holding that a rational firm will undertake
         predatory pricing only if the anticipated recoupment, or pay off, from predation is
28       sufficiently certain or sufficiently large).
                                                    6
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 1   despite argument that plaintiffs’ experts would offer opinions about the intent, motive or state
 2   of mind of defendants, as well as personal interpretations of documents and deposition
 3   testimony). See also Ex. 5, In re: TFT-LCD (Flat Panel) Antitrust Litigation, Trial Transcript
 4   from Toshiba Trial (June 12-14, 2012) at 1835 (overruling objection that question called for
 5   Professor Flamm’s “interpretation of a legal document”); p. 1843 (overruling objection that
 6   question called for Professor Flamm to “improperly interpret this document”); p. 1874
 7   (overruling motion to strike Professor Flamm’s testimony “about what the Crystal Meeting
 8   participants believed”); p. 1765-1777 (overruling objection to preclude Professor Flamm from
 9   testifying about Samsung interrogatory responses on which he relied); p. 1784-1785
10   (overruling request to strike alleged inappropriate “commentary on these business documents”
11   from Professor Flamm).
12          The very cases cited by Defendants in their Motion gut their unsupported claim that
13   Professor Elzinga should not be permitted to explain the factual bases of his opinions. For
14   example, Defendants cite Highland Capital, arguing that “an expert cannot be presented to the
15   jury solely for the purpose of constructing a factual narrative.” Highland Capital Mgmt.
16   L.P., 379 F. Supp. 2d at 461 (emphasis added). But a review of the full quote from the court
17   undermines Defendants’ point: “While an expert must of course rely on facts or data in
18   formulating an expert opinion, an expert cannot be presented to the jury solely for the
19   purpose of constructing a factual narrative based upon record evidence.” Id. (emphasis
20   added). Defendants do not challenge a single one of Professor Elzinga’s opinions, and they
21   cannot credibly argue that the DAPs are attempting to present Professor Elzinga “solely for
22   the purpose of constructing a factual narrative.” In essence, Defendants’ real complaint is that
23   Professor Elzinga is too thorough and transparent, going beyond the requirements of Fed. R.
24   Evid. 703 and Fed. R. Civ. P. 26 by disclosing in exacting detail the bases for his opinion
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 1                 Defendants can describe Professor Elzinga’s Report as “simply rehashing”
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 2   evidence, see Def. Mot. at 8, only by ignoring its actual content.
 3

 4                                     Indeed, in his Report, Professor Elzinga explains the market
 5   factors that can facilitate or inhibit the functioning of a cartel. See Ex. 3, Elzinga Report at
 6   21-38. He reviews the economic literature and behavior uncovered in other cartels, including:
 7   (i) lysine; (ii) vitamins; (iii) citric acid; and (iv) liquid crystal displays. Id. at 38-54. H
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12                               Simply put, Professor Elzinga “explains how he interprets the facts
13   and data, based on his training and experience, to reach his specific opinions.” Tubar v. Clift,
14   Case No. C05-1154-JCC, 2009 U.S. Dist. LEXIS 44201, at *6 (W.D. Wash. May 12, 2009).
15   The conclusions Professor Elzinga reaches are admissible, as is the factual basis for those
16   opinions.
17            Professor Elzinga’s review and analysis of the factual record is also in accord with
18   numerous economic textbooks and peer-reviewed articles which examine cartel conduct.
19   Relating the documentary record of cartel conduct to the economic theory of cartels is an
20   established and well-accepted approach to teaching the economics of cartels and to scholarly
21   research on the economics of cartels. In fact, Modern Industrial Organization, an economics
22   textbook cited by numerous experts in this case and co-authored by Defendants’ damages
23
     6
24       Defendants’ reliance on Johns v. Bayer Corp. similarly misses the mark. Johns v. Bayer
         Corp., No. 09-CV-1935, 2013 WL 1498965, at *28 (S.D. Cal. April 10, 2013). There, the
25       court appropriately excluded an “expert” opinion as an impermissible narrative because “11
26       ½ pages of [the expert’s] 12 page report is nothing more than a synopsis of Bayer’s
         marketing of the Vitamin Products during and before the Class Period.” Id. at *28. The
27       expert there was not a trained economist that recounted the industry conditions conducive to
         cartelization, reviewed cartel examples and then applied that learning to the facts of the
28       present case as Professor Elzinga has done here.
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 1   expert, Professor Dennis Carlton, provides a detailed account of supplier’s behavior in the
 2   Vitamins Cartel and applies economic principles to the behavior. See Ex. 6, Excerpts from
 3   Modern Industrial Organization.         Other economics textbooks and scholarly publications
 4   contain similar discussions and applications of economic principles to specific cartel
                 7
 5   behavior. Thus, the purpose of Daubert—assuring that the expert “employs in the courtroom
 6   the same level of intellectual rigor that characterizes the practice of an expert in the relevant
 7   field”—is satisfied here. Kumho Tire Co. v. Carmichael, 526 U.S. 137, 152 (1999).
 8             Given the requirements of Rule 702, Professor Elzinga would have been criticized had
 9   he not reviewed the factual evidence and provided a detailed explanation of how economic
10   principles are applied to the facts present in this case. See Guidroz-Brault v. Mo. Pac. R.R.
11   Co., 254 F.3d 825, 830-31 (9th Cir. 2001) (excluding expert testimony based on “assumption”
12   with “no factual basis”); Lloyd v. Conseco Fin. Corp., No. CV00-10452 MMM, 2001 WL
13   36097624, at *5-6 (C.D. Cal. Oct. 19, 2011) (excluding expert testimony because it was not
14   “sufficiently tied to the facts of the case”); Oracle Am., Inc. v. Google, Inc., 798 F. Supp. 2d
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16        There are numerous examples of textbooks and articles providing detailed facts of particular
         cartels and applying economic principles to those facts. See, e.g., Ex. 7 David Genesove and
17       Wallace P. Mullin, “Rules, Communication, and Collusion: Narrative Evidence from the
         Sugar Institute Case,” American Economic Review, Vol. 91 No. 3, at 379-98 (“Our window
18
         into the inner workings of a cartel is a remarkable series of notes on the weekly; Meetings of
19       the Sugar Institute.”); Ex. 8, Perloff, Jeffrey M. (2006) “Cartels,” Journal of Industrial
         Organization Education: 1(1), Article 6 (using the lysine cartel as an example); Ex. 9, Pepall,
20       Lynne, and Daniel Jay Richards. Industrial Organization: Contemporary Theory and
         Empirical Applications. 4th ed. Malden, MA, Blackwell Pub., 2008, Section 15.3 (describing
21       collusion on the NASDAQ Exchange); Ex. 10, Waldman, Don E., and Elizabeth Jane Jensen.
22       Industrial Organization: Theory and Practice. 2nd ed. Boston, Addison Wesley Longman,
         2001 (using documents from the Gypsum cartel case to describe the agreements and their
23       intended effects); Ex. 17 Scherer, F. M., and David Ross. Industrial Market Structure and
         Economic Performance, 3rd ed. Boston: Houghton Mifflin, 1990 (discussing electric
24       equipment cartel, including agreed to prices, systems designed to set specific prices, and
         actual implementation schedules along with problems faced by the cartel and the methods the
25       cartel used to overcome those problems); George W. Stocking and Myron W. Watkins
26       (1946), Cartels in Action, The Twentieth Century Fund, Inc., New York; George W.
         Stocking and Myron W. Watkins (1948), Cartels or Competition?, The Twentieth Century
27       Fund, Inc., New York; Connor, John M. Global Price Fixing, 2nd ed. Berlin: Springer, 2008
         (“[T]he goal of this book is to describe and analyze in depth the origins, operations, and
28       impacts of global cartels in the markets for lysine, citric acid, and vitamins.”).
                                                       9
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 1   1111, 1115 (N.D. Cal. 2011) (excluding expert testimony because it was “not based on
 2   sufficient facts”); Amorgianos v. Nat’l R.R. Passenger Corp., 137 F. Supp. 2d 147, 175
 3   (E.D.N.Y. 2001) (excluding expert testimony because it was “based . . . on an assumption that
 4   contradicts plaintiffs’ own evidence” and thus was not based on “sufficient facts or data”
 5   (internal citation omitted) aff’d, 303 F.3d 256 (2d Cir. 2002)).
 6          Professor Elzinga’s disclosure of the factual bases for his opinions is in full
 7   compliance with Federal Rule of Civil Procedure 26(a)(2)(B), which expressly requires that
 8   an expert report contain a “complete statement” of the expert’s opinions, the “basis and
 9   reasons therefor,” and the “facts or data considered by the witness in [forming the opinions].”
10   Notably, each of the paragraphs cited by Defendants as an improper narrative opinion are
11   included within the section of Professor Elzinga’s Report that is the application of
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14                  2. Professor Elzinga is Not Acting as a “Conspiracy-ologist”
15          Defendants’ effort to cast Professor Elzinga as a “conspiracy-ologist” does not change
16   the nature or character of the conventional expert testimony he seeks to offer the jury in this
17   case. The use of this belittling moniker is based on a fundamental misunderstanding of the
18   term and a misrepresentation of the opinions and factual bases for Professor Elzinga’s
19   conclusions here.
20          In the Urethane trial, Professor Elzinga explained that a “conspiracy-ologist” is:
21   “where someone who claims to be an economist looks at evidence of. . . ‘he said/she said,’ or
22   I was at this – I saw that they played golf together, or it was this luncheon, and infers from
23   this that this was a conspiracy.” See Ex. 12, Urethane Trial Trans. at 4523:5-12. And he
24   explained that he does not “go down that road because. . . [a]s an economist there’s nothing in
25   my graduate training . . . that gives [him] an advantage or special insight into learning about a
26   conversation that might have taken place when people played golf or when they were at lunch
27   with one another.” Id. at 4524:1-8. And the reason such an opinion would be inappropriate
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                                                    10
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 1   “conspiracy-ology” is that an economist has no special training to ascertain who is truthfully
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 2   reporting on what occurred at the meeting.
 3          In stark contrast to the example he provided,
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12                                                               Of course, an economist can apply
13   textbook economic principles to the undisputed facts to explain that such behavior is
14   consistent with cartel conduct. U.S. Info. Sys., Inc., 313 F. Supp. 2d at 240 (“Economists
15   often explain whether conduct is indicative of collusion.”) Professor Elzinga’s testimony can
16   be helpful to a jury trying to understand the economics of a price-fixing case. The Court
17   should not limit his testimony on these matters.
18
         B. The Factual Bases for Professor Elzinga’s Opinion Would Not Intrude on
19          the Jury’s Role or Improperly State Legal Conclusions
20          Professor Elzinga is not attempting to intrude upon the jury’s role as the finder of fact,
21   nor does his review of the record contain impermissible legal conclusions.           Defendants
22   concede that “[e]xpert evidence is not inadmissible merely because it embraces an ultimate
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 1   issue to be decided by the trier of fact.” Def. Mot. at 10. Federal Rule of Evidence 704 could
 2   not be clearer when it states that expert witnesses may offer opinions as to factual issues, even
 3   where those factual opinions “embrace an ultimate issue” to be decided in the case. Thus,
 4   Professor Elzinga’s opinions, even if they did “embrace an ultimate issue,” would not be
 5   improper.
 6            Here, however, Professor Elzinga made clear that he expresses no opinion as
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11                   And again, Defendants have not challenged a single opinion that Professor
12   Elzinga is offering. Defendants’ entire discussion is premised on the portion of his Report
13   that provides the factual bases for his ultimate conclusions. Given Defendants have no
14   quarrel with his ultimate opinions, there can be no finding that Professor Elzinga is trying to
15   usurp the role of the jury or improperly state legal conclusions by reviewing the factual record
16   and applying economics principles to that record.
17                    1.     Professor Elzinga’s Factual Bases Do Not Improperly Contain Legal
18                           Conclusions or Impinge on the Jury’s Fact Finding
              Defendants’ objection rests entirely on a series of quotes taken out of context from
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     Professor Elzinga’s Expert Report and deposition. See Def. Mot. at 3-5. But those quotes are
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     perfectly proper, given the opinions that Professor Elzinga is offering in this case.
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         See supra footnote 1.
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          Defendants claim that: “Whether Defendants formed agreements in restraint of trade is the
26       first legal conclusion the jury will be asked to determine.” Def. Mot. at 11 (emphasis
         added). Juries, however, do not make “legal conclusions.” The jury makes findings of fact
27       applying the law provided by the judge. See e.g., Theatre Enters., Inc. v. Paramount Film
         Distrib. Corp., 346 U.S. 537, 540 (1954) (“business behavior is admissible circumstantial
28       evidence from which the fact finder may infer agreement.”).
                                                    12
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 4          The cases Defendants cite highlight the distinction between “legal conclusions” and
 5   “factual” issues. See e.g., McHugh v. United Serv. Auto Ass’n, 164 F.3d 451, 454 (9th Cir.
 6   1999) (holding “expert testimony cannot be used to provide legal meaning to interpret”
 7   insurance policies); see also Crow Tribe of Indians v. Racicot, 87 F.3d 1039, 1045 (9th Cir.
 8   1992) (excluding expert testimony on legal interpretation of statute); see also Aguilar v. Int’l
 9   Longshoremen’s Union Local No. 10, 966 F.2d 443, 447 (9th Cir. 1992) (rejecting proposed
10   expert testimony on whether reliance was “reasonable and foreseeable”). Expert testimony on
11   true legal issues is rejected because: “The danger is that the jury may think that the ‘expert’ in
12   the particular branch of the law knows more than the judge—surely an inadmissible inference
13   in our system of law.” See Hygh v. Jacobs, 961 F.2d 359, 363 (2d Cir. 1992).
14          Expert testimony of the type provided by Professor Elzinga is not excluded because it
15   is grounded in economic theory and is factual in nature.
16

17                                                            It does not contain perfunctory legal
18   conclusions about how to interpret ultimate issues of law nor does it purport to do so.
19   Professor Elzinga was clear in his deposition that:
20                                                                 The Ninth Circuit has rejected the
21   very argument Defendants make here. See Hangarter v. Provident Life and Accident Ins. Co.,
22   373 F.3d 998, 1016-17 (9th Cir. 2004) (not only may an expert refer to legal terms but “a
23   witness may properly be called upon to aid the jury in understanding the facts in evidence
24   even though references to those facts is couched in legal terms”). (emphasis added) (citation
25   omitted).
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 1                      2.      Professor Elzinga’s Opinion is the Result of Economic Principles
                                Carefully Applied to the Factual Record
 2
                 Finally, Defendants argue that Professor Elzinga has no basis to infer “agreements”
 3
     between the Defendants and that he cannot provide testimony on motive or intent. See Def.
 4
     Mot at 10-12.
 5

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                 Defendants curiously accuse Professor Elzinga of applying his “intellectual filter” that
10
     he brings to his review of the record, see Def. Mot. at 4, 12, but that is precisely what an
11
     expert does. It is an expert’s “scientific, technical or other specialized knowledge”—as
12
     applied to the facts of a particular case—that yields reliable, admissible opinions. See Fed R.
13
     Evid. 702(a); see also Littleton Gas Co v. U.S. Dep’t of Energy, 300 F. Supp. 2d 21, 31
14
     (D.D.C. 2003) (holding “[e]xpert testimony based on personal experience and opinion may be
15
     sufficient to prove a point as long as the expert possesses the specialized knowledge on which
16
     to base his opinion”). Courts universally recognize that experts discuss, interpret, analyze
17
     and present the factual evidence that supports their opinions. See United States v. Brodie,
18
     858 F.2d 492, 496-97 (9th Cir. 1988) (“Experts ‘interpret and analyze factual evidence.’”)
19
     (citing United States v. Curtis, 782 F.2d 593, 599 (6th Cir. 1986)) (emphasis added). Such
20
     disclosure is limited only when the information at issue would “otherwise be inadmissible.”
21
          11
     Id.
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                 Defendants’ bald assertion that Professor Elzinga’s opinions are “connected to
23
     existing data only by the ipse dixit of the expert” is demonstrably false. See Def. Mot. at 12
24
     (citing Gen Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997)). First, Defendants are not
25
     challenging any of Professor Elzinga’s opinions. Second, contrary to Defendants’ suggestion,
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27   11
          Here, Defendants do not contend that any of the factual evidence Professor Elzinga
28        reviewed “would otherwise be inadmissible.”
                                                        14
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 1   no “interpretation” or “speculation” is needed here, when the record in this case shows those
                                           12
 2   intentions     without    question.        The   plea    agreements,   deposition   testimony,   and
 3   contemporaneous documents provide complete clarity:
 4
              Guilty Plea. Samsung SDI Co., Ltd. (“SDI”) entered a guilty plea in which it
 5             admitted that for nearly 10 years it “participated in a conspiracy among major CDT
               producers, the primary purpose of which was to fix prices, reduce output, and allocate
 6             market shares of CDTs sold in the United States and elsewhere.” SDI confessed in its
               Plea Agreement that in furtherance of the conspiracy, its employees had “discussions
 7             and attended meetings with representatives of other major CDT producers” where
               “agreements were reached to fix prices, reduce output, and allocate market shares of
 8
               CDTs.” See Ex. 14, Transcript of the Change of Plea Hearing, United States v.
 9             Samsung SDI Co., Ltd., No. 3:11-CR-00162-WHA, Dkt. No. 35 (N.D. Cal. May 24,
               2011); Ex. 15, Amended Plea Agreement, United States v. Samsung SDI Co., Ltd., No.
10             3:11-CR-00162-WHA, Dkt. No. 40-1 (N.D. Cal. Aug. 8, 2011).
11            Amnesty Applicant. Chunghwa (another co-conspirator) has admitted its role in the
12             CRT price-fixing conspiracy by virtue of its status as the amnesty applicant in the
               DOJ’s leniency program. See Ex. 16, MDL Dkt. No. 3395, Defendants Chunghwa
13             Picture Tubes, Ltd. Notice of Limitation of Damages Pursuant to ACPERA.

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          Defendants’ citation to Stigler and Hovenkamp are inapposite. See Def. Mot. at 11.
26        Professor Elzinga’s opinion is not predicated on a finding of “agreement” in the legal sense.
          Professor Elzinga’s proposed testimony would provide the jury with an understanding of the
27        market conditions that facilitate collusion and the behavior mechanisms that make collusion
          successful. He then applies those to the structure and conduct of the CRT case yielding his
28        ultimate opinions, which Defendants concede are admissible.
                                                         15
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 1

 2

 3                                        V. CONCLUSION
 4
            For the reasons stated above, Defendants’ Joint Motion to Exclude Certain Expert
 5
     Testimony of Professor Kenneth Elzinga should be denied.
 6
            Respectfully submitted this 16th day of January, 2015.
 7
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21   Pursuant to General Order No. 45, § X-B, the filer attests that concurrence in the filing of this

22   document has been obtained from each of the above signatories.

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